Case 1:15-cr-00046-LTS-MAR   Document 164   Filed 04/04/16   Page 1 of 6
Case 1:15-cr-00046-LTS-MAR   Document 164   Filed 04/04/16   Page 2 of 6
Case 1:15-cr-00046-LTS-MAR   Document 164   Filed 04/04/16   Page 3 of 6
Case 1:15-cr-00046-LTS-MAR   Document 164   Filed 04/04/16   Page 4 of 6
Case 1:15-cr-00046-LTS-MAR   Document 164   Filed 04/04/16   Page 5 of 6
Case 1:15-cr-00046-LTS-MAR   Document 164   Filed 04/04/16   Page 6 of 6
